           Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 1 of 8



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

MWK RECRUITING, INC.

               Plaintiff,
                                              Civil Action No. 1:18-cv-00444-RP
      v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO
VARGAS, and LEGIS VENTURES
(HK) COMPANY LIMITED (aka
Jowers / Vargas),

               Defendants.


EVAN P. JOWERS

               Counterclaimant,

      v.

MWK RECRUITING, INC., ROBERT
E. KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED

               Counter-defendants.



               PLAINTIFF/COUNTERDEFENDANTS’ RESPONSE TO
                       JOWERS’S MOTION TO STRIKE

      MWK Recruiting, Inc. (“MWK”) and counter-defendants Robert E. Kinney

(“Kinney”), Michelle W. Kinney (“M.W. Kinney”), Recruiting Partners GP, Inc.,

Kinney Recruiting LLC, Counsel Unlimited LLC, and Kinney Recruiting Limited (the

“Counter-defendants” and, collectively with MWK, the “MWK Entities”) respectfully

file their response to Defendant/Counterplaintiff Evan P. Jowers’s (“Jowers”) Motion
           Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 2 of 8



to Strike, ECF No. 113 (the “Motion”).

      I.       The MWK Entities Supplemental Declaration is for clarity and to
               avoid surprise, not argument

      The MWK Entities filed their Supplemental Affidavit ECF No. 112 to place in

the record prior to the hearing scheduled for October 30 the email messages the MWK

Entities believe form the basis of the Jowers defamation claims in Hong Kong. Because

Jowers has filed only an “endorsement of claim” so far in the Hong Kong lawsuit,

containing only a vague description with time stamps of the email messages he believes

are defamatory, the MWK Entities are not sure that the email messages presented in

the Supplemental Affidavit are the ones at issue. The Court could rule on the MWK

Entities Motion for Antisuit Injunction ECF No. 102 (the “Injunction Motion”)

without a hearing unless there is a factual issue in dispute. Kaepa, Inc. v. Achilles

Corp., 76 F.3d 624, 628 (5th Cir. 1996) (“If no factual dispute is involved, however, no

oral hearing is required.”). In the event that the Court conducts the hearing on October

30, 2019 as an evidentiary hearing, the MWK Entities assume that the Court may want

to consider what, exactly, is at issue in Hong Kong. The purpose of the supplemental

affidavit was not to add anything additional to the arguments before the Court but to

avoid any surprise at the hearing and permit Jowers to have an opportunity to point to

different messages if the messages at issue are different from the ones presented in the

Supplemental Affidavit.

      II.      Jowers mischaracterizes what happened with the MWK Entities’
               response to the Motion to Disqualify

      In the Motion, Jowers incorrectly states that the MWK Entities “[...]asked for

and received an extension of time in which to respond […]” to Jowers’s Motion to



REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                         PAGE |2
           Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 3 of 8



Disqualify Robert Kinney. Motion, p. 3 (emphasis added). The MWK Entities’ filed their

Response to Jowers’s Motion to Disqualify on October 15, 2019. ECF No. 105. The

Motion to Disqualify was originally filed October 7, 2019. ECF No. 100. Under the Local

Rules’ seven-day reply deadline, after applying the date computing rules of FRCP 6, the

original deadline for filing the MWK Entities’ Response was October 15 (one day after

the Columbus Day holiday on October 14). On October 8, 2019, the MWK Entities filed

an unopposed Motion to Extend Time For [sic] To Respond to Defendant’s Motion to

Disqualify, which requested a seven-day extension to the original deadline. ECF No.

101. Due to the MWK Entities’ typographical error, the request for relief and the

proposed Order contained October 14 instead of October 21 as the new requested

deadline for filing of the MWK Entities’ Response. Id. The Court issued its order (ECF

No. 101 – Text Order) in the form requested ECF No. 101-1, which had the perverse

effect of shortening the MWK Entities’ original deadline for filing their response by

one day from October 15 to October 14, a federal holiday. This scrivener’s error was not

discovered by the MWK Entities until the Court initially granted Jowers’s Motion to

Disqualify, citing lack of a response. ECF No. 106. Until that point, counsel for the

MWK Entities believed, mistakenly, that they had filed the response early in the

interest of providing ample time to the Court and parties prior to the upcoming motions

hearing.

      It is rare that the result of an unopposed motion to extend a deadline, when

granted by a court, would have the effect of actually shortening the deadline sought to

be extended. The MWK Entities are thankful for the Court’s willingness to consider the

arguments offered and would not mention this matter again except for Jowers’s



REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                         PAGE |3
         Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 4 of 8



incorrect statement that the MWK Entities “asked for and received” an extension. It

is true the MWK Entities asked for an extension; what they received was a shortening

of the deadline.

       III.   The forum selection clause was not first raised in the reply.

       Jowers argues that the MWK Entities’ Reply should be stricken insofar as it

related to the forum selection clauses governing Jowers’s relationship with the MWK

Entities. Motion, pp. 4-6. He says that he was “forced to speculate” as to what the MWK

Entities could possibly have meant when, in the Injunction Motion, they raised the

issue that the forum selection clauses were relevant to the Court’s analysis. Id., p. 5.

       The presence of governing forum selection clauses and Jowers’s effort to thwart

them implicate an important policy of this forum in enforcing them. ECF No. 102, p. 6.

The parties have briefed these clauses at length in the motions to dismiss previously

filed in this suit. See, e.g., ECF Nos. 11, 19, 35, 37, and 86. The relevance of these

clauses was briefed sufficiently in the Injunction Motion to give Jowers notice to

respond to the argument, as is required. ECF No. 102, p. 6. Indeed, Jowers knew

exactly what was at issue and he responded in full with three pages of briefing on the

matter, and he has not requested an opportunity to respond further. ECF No. 107, pp.

8-10. Were he to make such a request, the MWK Entities would not object. Instead, he

would like to have the Court simply strike the MWK Entities’ reply to his extensive

briefing on the matter, leaving him with the last word.

       While it is true that a claim raised for the first time in a reply brief will

generally not be considered, it is also black letter law that a party is entitled to respond

to any all arguments contained in his opponent’s response brief. See, e.g., U.S. v.



REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                            PAGE |4
           Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 5 of 8



Aguilera-Deleon, No. 10-10788, at *4 (5th Cir. 2011), citing United States v. Ramirez,

557 F.3d 200, 203 (5th Cir. 2009) (“Nonetheless, the court has discretion to consider an

issue raised for the first time in a reply brief if it is in response to an issue raised in an

appellee's brief.”). “When a potentially material issue or argument in defense of the

judgment is raised for the first time in the appellee's brief, fundamental fairness

requires that the appellant be permitted to respond, lest the appellate court deem the

point conceded.” Netword, LLC v. Centraal Corp., 242 F.3d 1347, 1356 (Fed. Cir. 2001),

citing North v. Madison Area Ass'n for Retarded Citizens-Developmental Centers Corp.,

844 F.2d 401, 405 n.6 (7th Cir. 1988) (when the appellee raises an issue not addressed

by the appellant in its opening brief, appellant is entitled to reply). See generally

Michael E. Tigar & Jane B. Tigar, Federal Appeals Jurisdiction and Practice 469-70 (3d

ed. 1999) (purpose of reply brief is to respond to arguments presented by appellee). See

also, Murray v. TXU Corp., No. 3:03-CV-0888-P, 2005 WL 1313412, at *4 (N.D. Tex.

May. 27, 2005) (Denying plaintiff's motion to strike defendants' reply brief and

supplemental appendix, and denying motion for leave to file a surreply because the

arguments contained within did not raise new arguments or legal theories, but instead

rebutted plaintiff's response or bolstered defendants' arguments contained in its initial

motion).

       Jowers states in his Response to the Injunction Motion (the “Injunction Motion

Response”), “Neither is Jowers’s defamation claim governed by the forum selection

clause contained in the Jowers Agreement.” ECF No. 107, p. 11. In fact, the Court

needs to look no further than Jowers’s Response to find the entire applicable forum

selection clause quoted as a block quote, preceded and followed by extensive discussion



REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                              PAGE |5
        Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 6 of 8



of why it does not apply to Jowers’s Hong Kong claims. Response, p. 12. The MWK

Entities were within their rights to reply to these arguments in their Reply.

      IV.    That claims in this case are duplicative, dispositive, and
             determinative of his claims in Hong Kong was a major point in
             the Injunction Motion and Response

      Jowers also complains that the MWK Entities’ Injunction Motion did not give

him proper notice that the claims in the present suit will be “dispositive” of the

defamation claims in the Hong Kong action even apart from the declaratory judgment

request filed by the MWK Entities as counterclaims. Motion, pp. 5-6. He therefore

requests that the Court ignore the MWK Entities’ arguments on this point. Jowers’s

request here is also unfounded.

      First, the MWK Entities did not intend, by using the word “dispositive,” to

assign any special significance to that word versus alternatives such as “determinative”

or “duplicative,” both of which were used throughout the Injunction Motion. ECF No.

102, pp. 5-8; 15-18. In the context of a foreign antisuit injunction motion, these words

are synonyms of each other; obviously, a primary reason for injunctions such as the one

requested is that a suit in one country is not able to actually “dispose” of a suit in

another country. Thus, as used in the Injunction Motion and the Reply, there is no

difference in the meaning of these words.

      Furthermore, it is far-fetched of Jowers to claim that he was prejudiced by lack

of awareness that the MWK Entities were not relying on the declaratory judgment

claim added by the Kinney Entities in their counterclaims. In the Injunction Motion,

the MWK Entities pointed out in several ways that the Hong Kong claims were

duplicative. ECF No. 102, pp. 6-8. Jowers’s Injunction Motion Response goes on at



REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                         PAGE |6
        Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 7 of 8



length to acknowledge the duplication but to argue that the Court should overlook it

because the duplicative nature of the Hong Kong case was the MWK Entities’ fault.

ECF No. 102, pp. 5-8; 15-18. According to Jowers, the MWK Entities manufactured

whatever duplication there is. Jowers chose not to address the fact that the original

claims against Jowers, because they undermine his claims of defamation, are what

make the Hong Kong action duplicative of the present action and the present action

determinative of the Hong Kong action.

      To claim that he had no notice that this argument was at issue is, again, a

specious argument. The Injunction Motion states:

      Jowers’s defamation claim involves the same facts that will be decided by the
      Court in this litigation; namely, whether Jowers, his employees, and his agents
      misappropriated MWK’s trade secrets and used them to create Legis Ventures.
      This factual dispute was being litigated in this Court for more than a year before
      Jowers even filed his claims in Hong Kong and had been on file in state court
      long before that.

(emphasis added) ECF No. 102, p. 8. Clearly, this was notice to Jowers that the MWK

Entities’ argument was referring to the dispositive, determinative, and duplicative

nature of the various claims that were before this Court before the MWK Entities’

recently added counterclaims. Those claims are dispositive, determinative and

duplicative of Jowers’s claims in the defamation action he has brought in Hong Kong,

and this is a reason the Court should grant the requested injunction. That Jowers

chose, rather than to respond directly, to spend multiple pages of briefing effort on

discussion of how the MWK Entities’ unclean hands were the cause of any duplication

was a strategic choice he must live with; however, should he wish to reply further, the

MWK Entities would have no objection to such a request.

                                   CONCLUSION


REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                         PAGE |7
        Case 1:18-cv-00444-RP Document 114 Filed 10/25/19 Page 8 of 8




      In summary, there is no valid argument that the Supplemental Affidavit worked

a surprise in this matter; to the contrary, it was filed to avoid surprise and assist the

Court should it conduct an evidentiary hearing October 30. Jowers’s requests regarding

lack of notice of the MWK Entities’ arguments regarding the forum selection clause and

duplication also should be denied.


Dated: October 25, 2019                        Respectfully Submitted

                                               /s/ Robert E. Kinney
                                               Robert E. Kinney
                                               Texas State Bar No. 00796888
                                               Robert@KinneyRecruiting.com

                                               Robert E. Kinney
                                               824 West 10th Street, Suite 200
                                               Austin, Texas 78701
                                               Tel: (512) 636-1395

                                               Raymond W. Mort, III
                                               Texas State Bar No. 00791308
                                               raymort@austinlaw.com

                                               THE MORT LAW FIRM, PLLC
                                               100 Congress Ave, Suite 2000
                                               Austin, Texas 78701
                                               Tel/Fax: (512) 865-7950

                                               ATTORNEYS FOR PLAINTIFF AND
                                               COUNTER-DEFENDANTS




REPLY TO MOTION FOR PRELIMINARY AND PERMANENT INJUNCTION                          PAGE |8
